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                                               UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                       EASTERN DIVISION
                        CARTER BRYANT, an individual,        CASE NO. CV 04-9049 SGL (RNBx)
                                                             Consolidated with
                                          Plaintiff,         Case No . CV 04-09059
                              vs.                            Case No . CV 05-2727
                                                             DISCOVERYMATTER
                        MATTEL, INC., a Delaware
                        corporation,                         LTo be Heard by Discovery Master Hon.
                                                             Edward Infante (Ret.) Pursuant to Court
                                                             Order of December 6, 2006]
                                          Defendant.
                                                             MATTEL, INC.'S OPPOSITION TO
                                                             JOINT MOTION TO COMPEL THE
                        AND CONSOLIDATED ACTIONS             DEPOSITION TESTIMONY OF
                                                             ROBERT ECKERT
                                                             Date : January 4, 2008
                                                             Time : TBD
                                                             Discovery Cut-Off:     Jan. 28, 2008
                                                             Pre-Trial Conference : May 5, 2008
                                                             Trial Date :           May 27, 2008

                                                             [Declaration of Bridget Hauler filed
                                                             concurrently herewith]

                                                        CONFIDENTIAL
                               FILEDUNDERSEALPURSUANT TO PROTECTIVE ORDER

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                                                      Preliminary Statement
                            With this Joint Motion, MGA Entertainment, Inc . and Carter Bryant
                      (collectively, the "defendants") improperly seek to compel the deposition Robert
                      Eckert, Mattel, Inc.'s Chairman of the Board and Chief Executive Officer, for seven
                      hours of testimony. Defendants' motion defies well-settled law governing
                      depositions of high-ranking corporate officers, misstates that extraordinarily limited
                      scope of his knowledge and misstates the history of discovery in this case . The
                      motion is unfounded and should be rejected.
                            Defendants argue that because Mr. Eckert has "personal knowledge on several
                      [unidentified] key issues in this lawsuit" (Mot . at 1), he should be subjected to an
                      entire day of deposition . But the law is clear that, because of its potential for abuse,
                      the deposition of an "apex" witness should be limited to those issues on which he or
                      she has superior and unique personal knowledge . Defendants make no persuasive
                      showing that Mr. Eckert has such knowledge. The evidence shows that Mr . Eckert
                      has superior and unique personal knowledge on only discrete matters relevant to this
                      suit. Although Mattel accordingly has offered to provide Mr . Eckert for deposition
                      in an appropriately limited manner, defendants argue that the apex rule does not
                      apply. This argument misapprehends the apex rule and runs counter to the wealth of
                      decisions holding that even where a high-ranking officer has knowledge, limitations
                      should still properly be placed on the deposition.
                      I.     APEX DEPOSITIONSARE WARRANTED ONLYUNDER LIMITED
                            CIRCUMSTANCES
                             A.    The Apex Rule Applies Even Where Deponent Has Some
                                   Knowledge
                             Federal courts have long been attuned to the potentially troublesome and
                      disruptive qualities attendant to the deposition of high-ranking corporate officers:
                      "Virtually every court that has addressed deposition notices directed at an official at


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                     1 the highest level or 'apex' of corporate management has observed that such
                     2 discovery creates a tremendous potential for abuse or harassment ." Celerity, Inc . v.
                         Ultra Clean Holding, Inc ., 2007 WL 205067, at *3 (N .D. Cal . Jan . 25, 2007) (citing
                         Mulley v . Chrysler Corp ., 106 F .A.D . 364 (D .R.I . 1985)).
                               Flying in the face of this well-settled policy, defendants argue that because
                         Mr . Eckert has some knowledge-no matter how limited and no matter how non-
                         unique-the apex rule does not apply . (Mot. at 5 .) The apex rule is not an either/or
                         proposition, however, and the fact that an executive may have some knowledge of
                         some type does not eviscerate the rule . It does not work a wholesale transformation,
                         requiring Mr . Eckert to submit to an ordinary seven-hour deposition on any topic
                         imaginable, even as to those he has no unique knowledge of, as defendants'
                         argument suggests . Defendants misapprehend the interplay between the apex rule
                         and Federal Rule of Civil Procedure 26 when they suggest that if the apex rule does
                         not apply then the deposition should go forward. (Mot . at 4-6 .) The apex rule is not
                         an independent rule in opposition of Rule 26 ; rather, it is an application of Rule 26
                         which grants a court "discretion to limit discovery and impose restrictions where the
                         discovery sought 'is obtainable from some other source that is more convenient, less
                         burdensome, or less expensive .' WebSideStory, Inc . v. NewRatings, Inc ., 2007 WL
                         1120567, at *2 (S .D. Cal . Apr . 6, 2007) (quoting Fed. R. Civ . P ., 26(b)(1)).
                               B.     Where Apex Depositions AreWarranted, Courts Establish
                                      Significant Limitations
                               When presented with situations of high-ranking corporate officers who have
                         some limited personal knowledge, courts often have permitted depositions to go
                         forward-but only on a limited basis because "[e]ven when an executive does have
                         personal knowledge about the case, the court still may fashion a remedy which
                         reduces the burden on the executive ." Folwell v . Hernandez, 210 F .R.D . 169,
                         174 (M.D .N.C. 2002) (quoting Inre Bridgestone/Firestone, Inc . Tires Prods. Liab.
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                      Litig., 205 F .R.D. 535 (S .D. Ind . 2002)) ; see also Malletier v. Dooney & Bourke,
                      Inc ., 2006 WL 3476735, at *13 (S .D.N.Y. Nov. 30, 2006) (holding the deposition
                      of an executive with some knowledge could proceed but that "it is equally
                      appropriate to place significant limitations on such a deposition").
                             Generally, such depositions will be permitted only on topics where the
                      proposed deponent posseses "first-hand, non-repetitive" knowledge which is
                      "unique or superior" and which cannot be inquired into with other witnesses
                      (including corporate designees) or through less burdensome means of discovery.
                      WebSideStory, 2007 WL 1120567, at *2 . This showing is "an essential component
                   10 of the standard for an apex deposition-unique personal knowledge by the high
                      corporate official, unavailable from less intrusive discovery, including
                      interrogatories and the depositions of lower-level employees ." Celerity, 2007 WL
                      205067, at *4-5 (holding that the party seeking deposition had not "met its burden to
                      justify these apex depositions according to the case law").
                             Accordingly, even where a high-ranking corporate officer may have some
                      personal knowledge, courts generally will require a party to first exhaust other less
                      intrusive discovery methods . WebSideStory, 2007 WL 1120567, at *2 . And the
                      scope of the deposition will be strictly limited to those topics on which the officer
                      possesses unique and superior information. The decision in WebSideStory-on
                      which defendants rely heavily-is instructive . There, the court held that even
                      though the high-ranking corporate officer had knowledge as to certain topics, the
                      deposition of a corporate designee should occur first to minimize the topics for the
                      apex deposition . Id. at *5 . Moreover, the court ordered that the apex deposition be
                       "appropriately limit[ed]" to those topics as to which the officer had "unique, first
                      hand knowledge ." Id. ; see also Google, Inc . v . Am. Blind, 2006 WL 2578277, at *3
                       (N.D . Cal . Sept. 6, 2006) (limiting scope of deposition to those few topics on which
                       executive had superior knowledge).


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                 1            Further, as suggested by WebSideStory and shown in numerous other
                 2 decisions, the topics on which a high-ranking corporate official will actually have
                     superior and unique knowledge which cannot be obtained through other discovery
                     are often quite limited . WebSideStory, 2007 WL 1120567, at *5 . As such, courts
                     frequently limit the deposition to a few hours or less . See, e .g., First Nat'l . Mortg.
                     Co . v . Fed. Realty Inv. Trust, 2007 WL 4170548, at *3 (ND, Cal . Nov. 19, 2007)
                     (limiting the deposition to two hours) . ' In determining an appropriate length for the
                     deposition, courts consider the position of the proposed deponent including his or
                     her business responsibilities and the likely business disruption-and the scope of the
                     inquiry for which only the proposed deponent can provide unique testimony . See
                     Malletier, 2006 WL 3476735, at *13 (limiting deposition to three hours given
                     deponent's "senior position in, and responsibility for business affairs at, [the
                     company] and the narrowness of the inquiries that may be appropriately directed to
                     him").




                         See also Bush v . Dictaphone Corp ., 161 F .3d 363, 367 (6th Cir . 1998) (affirming
                     district court's limitation of executive's deposition to two hours) ; Malletier, 2006
                     WL 3476735, at *13 (S .D .N.Y. Nov . 30, 2006) (limiting to three hours) ; Google,
                     2006 WL 2578277, at *3 (N .D. Cal . Sept. 6, 2006) (same); Morales v . E.D . Etnyre
                     & Co., 229 F.R.D. 661, 663 (D.N.M . 2005) (limiting to one hour) ; Convolve, Inc . v.
                     Compaq Computer Corp ., 223 F .R.D . 162, 182 (S .D.N.Y . 2004) (limiting to three
                     hours); Frere v. Orthofix, Inc ., 2000 WL 1789641, *8 (S .D.N.Y. Dec . 6, 2000)
                     (limiting to two hours) ; Yholman v . ICN Pharms ., Inc., 1999 WL 1267459, at *1-2
                     (S .D .N.Y. Dec . 29, 1999) (limiting to four hours) ; Steadfast Ins . Co ., Inc, v .Auto
                     Marketing Network, Inc ., 1999 WL 300231, at *2 (N .D. Ill . May, 3 1999) (same).



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                    1 II. DEFENDANTS HAVE FAILEDTOJUSTIFYMR. ECKERT'S
                    2         DEPOSITION
                              A.     Mr.Eckert' s Unique Personal Knowledge IsLimited And His
                                     Deposition Should Be Limited Accordingly
                              Defendants argue that Mr, Eckert has "personal knowledge on several key
                        issues in this lawsuit" and therefore should be deposed for a full day . (Mot . at 1 .)
                        Defendants' argument is wholly unpersuasive, and fails to meet the standards
                        required under the apex rule . Personal knowledge, alone, is not a sufficient basis to
                        warrant the deposition of Mattel's high-ranking corporate executives . Rather,
                        testimony from Mr . Eckert should be limited to those issues on which he has
                        superior and unique personal knowledge.
                              Although defendants assert in conclusory fashion that it is "beyond dispute"
                        that Mr . Eckert, as Mattel's CEO, must have "personal knowledge regarding the
                        fact's underlying Mattel's claims and defenses," they have failed to show, as they
                        must, how Mr . Eckert's alleged knowledge is unique or superior to other witnesses
                        or could not be obtained through less exhaustive means . To justify their argument,
                        defendants point to the fact that Mr . Eckert was identified (among scores of others)
                        in Mattel's Rule 26(a)(I) disclosures and in its interrogatory responses. (Mot. at 1-
                        2 .) But the mere inclusion or exclusion of his name in initial disclosures or
                        interrogatory answers as a person with some knowledge does not address, let alone
                        establish, the key fact that defendants must prove     namely, that Mr . Eckert's
                        knowledge is personal and unique and superior to other witnesses . 2


                           2 Defendants' own authorities highlight the point . See WebSideStory, 2007 WL
                        1120567, at *4 . While the WebSideStory Court allowed a limited deposition to
                        proceed, it noted inclusion or exclusion in initial disclosures is hardly illuminating
                        "[because parties] are free to identify witnesses under Rule 26 and to change such
                        identifications as [they] deem[] appropriate ." Id. As such, "removal or change of
                        (footnote continued)
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                   1         Next, in an attempt to "demonstrate Mr . Eckert's firsthand knowledge and
                   2 involvement in the facts underlying this case," defendants make much of the fact
                   3 that in Mattel's document production "there are more than 120 documents that
                   4 contain the statements of, or otherwise reference or concern, Mr . Eckert." (Mot. at
                       3 ; see also Mot . at 2.) To date, Mattel has produced hundreds of thousands of pages
                       of documents in this litigation .3 It is hardly surprising that among them are pages
                       that reference or contain statements by Mattel's CEO.
                             Tellingly, among the "more than 120 documents" offered by defendants as
                       relevant to Mr. Eckert's knowledge, they cite only to one document, the "anonymous
                       letter." Defendants give absolutely no information about the remaining documents
                       which purportedly demonstrate Mr . Eckert's knowledge. They do not identify the
                       specific bates numbers of the documents or even the kinds of documents, much less
                       how those documents show Mr . Eckert's unique and superior personal knowledge.
                       Mattel's own review of the documents produced shows that approximately 94
                       mention Mr. Eckert.5 Of those, more than one-half are simply newspaper and press
                       articles which discuss or mention Mr . Eckert!' Defendants' attempt to use Mr.


                       witness identification does not preclude the opposing party from deposing the witness,"
                       while inclusion, by implication, does not mandate a witness should be deposed . Id.
                           3 See Declaration of Bridget Hauler in Support of Opposition to Joint Motion to
                       Compel the Deposition Testimony of Robert Eckert, dated December 18, 2007 ("Hauler
                       Dec.") ¶ 2.
                             See Ex. 1 attached to the Declaration of Marcus R . Mumford in Support of Joint
                       Motion to Compel the Deposition Testimony of Robert Eckert ("Mumford Dec .").
                           5 See Hauler Dec . ¶ 3.
                           6
                             See id. ; see, e.g., Andria Cheng, "World Barbie Means Business," The Age (Apr.
                       21, 2004), Hauler Dec ., Ex. 1 ; Greg Levine, "Faces in the News : Eckert's Mattel Touts
                       Barbie as Multimedia Star," Forbes .com (June 20, 2006), Hauler Dec., Ex. 2; Queena
                       Sock Kim & Suzanne Vranica, "'Tween Queen Comes to Fashion Doll's Aid," Wall
                       Street Journal (Aug. 23, 2004), Hauler Dec ., Ex . 3 ; Alex Veiga, "Rehabbed Barbie
                       Aims to Win," Associated Press (Nov . 29, 2004), Hauler Dec ., Ex. 4.

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                      Eckert's statements in the business press to show Mr . Eckert's superior and unique
                      personal knowledge defies all applicable law . If every tangential public statement
                      made by a high-ranking corporate officer could be similarly used to bootstrap a
                      showing of superior and unique personal knowledge, then the apex rule would cease
                      to exist.
                             The remaining documents are equally lacking in evidence of Mr . Eckert's
                      unique and superior knowledge as to any of the significant issues in this case . They
                      include, for example, correspondence from Mr . Eckert to various Mattel employees
                      summarizing his experience at industry events? or documents relating to employee
                      compensation . 8 These types of documents simply offer no basis to conclude that
                      Mr. Eckert has unique and superior personal knowledge . Of course, defendants'
                      failure to cite any other documents of these supposedly important "120 documents"
                      is explained quite simply : there are none .9
                             Only a handful of documents have any true relevance to any issue as to which
                      it can be credibly argued that Mr. Eckert has any superior and unique personal
                      knowledge . The only topic on which Mr . Eckert has any "first-hand, non-repetitive"
                      knowledge which is "unique or superior" and which cannot be inquired into with
                      other witnesses (including corporate designees) or through less burdensome means
                      of discovery, relates to the "anonymous letter" addressed to Mattel's CEO which Mr.
                      Eckert received . Mattel has never argued that Mr. Eckert has no personal

                              See, e.g., February 16, 2004 email from Robert Eckert to Mattel Employees,
                      Hauler Dec ., Ex. 5.
                          8
                             See, e.g., Maxch 28, 2003 Letter from Robert Eckert to Ron Brawer, Hauler Dec .,
                      Ex. 6.
                          9 Having failed to in their motion to show Mr . Eckert's unique and superior
                      knowledge, defendants' reply will no doubt cite to various other documents that they
                      failed to mention in their motion. While these are unlikely to be illuminating, they
                      (footnote continued)



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                     Judge Larson observed that the letter was scarcely sufficient basis for any suit . '
                     Given its at best marginal relevance, its limited scope, Mr . Eckert's limited
                     knowledge, and the fact that defendants have received and will continue to receive
                     testimony from other Mattel employees and executives about the anonymous letter,
                     the letter simply cannot justify subjecting Mattel to the burden and distraction of
                     having its CEO and Chairman of the Board sit for seven hours of deposition.
                                                        CONCLUSION
                           For the foregoing reasons Mattel respectfully requests that the Court issue an
                     order requiring defendants to first exhaust less burdensome means of discovery and
                     limiting Mr. Eckert's deposition testimony to no more than one hour on specific
                     topics for which he has unique and superior personal knowledge.


                     DATED : December 18, 2007 WINN EMANUEL URQUHART OLIVER &
                                                 HEDGES, LLP


                                                           By             3
                                                                Jon D. Corey
                                                                Attorneys for Mattel, Inc.




                         15 See, e .g., Bouchard v . New York Archdiocese, 2007 WL 2728666, at *4-5
                     (S .D .N.Y. Sept. 19, 2007) (first requiring deposition through written questions under
                     Rule 31).
                         16
                            See Order Denying Motion for Terminating Sanctions, dated August 27, 2007, at
                     3-4, Hauler Dec ., Ex . 8.



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